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                        Exhibit O
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                    The Value of Online Information Privacy:
                          An Empirical Investigation


              Il-Horn Hann, Kai-Lung Hui, Tom S. Lee, and I.P.L. Png


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                                      Executive Summary

         Concern over online information privacy is widespread and rising. However, prior
 research is silent about the value of information privacy in the presence of potential benefits
 from sharing personally identifiable information. Analyzing individuals’ trade-offs between the
 benefits and costs of providing personal information to websites revealed that benefits –
 monetary reward and future convenience – significantly affect individuals’ preferences over
 websites with differing privacy policies. Quantifying the value of website privacy protection
 revealed that among U.S. subjects, protection against errors, improper access, and secondary use
 of personal information is worth US$30.49 – 44.62. Finally, three distinct segments of Internet
 consumers were determined – privacy guardians, information sellers, and convenience seekers.
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                The Value of Online Information Privacy: An Empirical Investigation
                     Il-Horn Hann, Kai-Lung Hui, Tom S. Lee, and I.P.L. Png


 1. Introduction


           Privacy has been identified to be a major, if not the most critical, impediment to e-
 commerce: “In our view, the single, overwhelming barrier to rapid growth of e-commerce is a
 lack of consumer trust that consumer protection and privacy laws will apply in cyberspace.
 Consumers … worry, deservedly, that supposedly legitimate companies will take advantage of
 them by invading their privacy to capture information about them for marketing and other
 secondary purposes without their informed consent” (U.S. Public Interest Research Group 2000).
           Even before the advent of e-commerce, there was broad concern about collection of
 personal information in various contexts, including employment, retailing and direct marketing,
 and government. These concerns prompted government action. In 1974, the U.S. Congress
 passed the Privacy Act to regulate government collection and use of personal information.1 In
 1980, the Organization for Economic Co-operation and Development published guidelines for
 the collection and use of personal information by government and private organizations (OECD
 1980). Further, in 1995, the European Union adopted a data protection directive that regulates
 information within and beyond the Union (European Union 1995). The directive disallows
 transfer of information to other countries that do not provide adequate protection.
           Rapid improvements in computing technologies and the advent of e-commerce have
 amplified public concern about privacy, especially on electronic networks. With every website
 visit, a browser leaves an electronic trace which can later be retrieved and analyzed. Combined
 with technology to store identifying information (cookies), website operators can profile
 browsers to an unprecedented degree and subsequently merge these profiles with other
 demographic data. Such an enriched data set can then be used by the company or sold to other
 parties.2 This information could benefit the customer by more precisely identifying her need.
 However, it could also be used to her detriment. For example, Amazon.com was suspected of
 engaging in differential pricing based on prior shopping information and other customer


 1
   Specifically, the Privacy Act of 1974 prohibits unauthorized disclosures of records and gives individuals the right to review
 records about themselves to check whether records have been disclosed and to request corrections or amendments.
 2
   New York Times, “Giving the Web a Memory Cost Its Users Privacy,” September 4, 2001.
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 demographics for the sales of DVDs.3 Westin (2001) concludes: “There has been a well-
 documented transformation in consumer privacy attitudes over the past decade, moving concerns
 from a modest matter for a minority of consumers in the 1980s to an issue of high intensity
 expressed by more than three-fourth of American consumers in 2001”.
          Despite the passage of new legislation, including the 1998 Children’s Online Privacy
 Protection Act, which regulates the online collection and use of children’s personal information,
 there continues to be public pressure for increased regulation. Over fifty bills to regulate online
 privacy were introduced in the first session of the 107th Congress.                             Industry, however, is
 resisting the proposals to tighten regulation.                   The national cost of complying with these
 legislative proposals has been estimated to be US$9-36 billion (Hahn 2001). For just catalog and
 Internet clothing retailers, a study sponsored by the Direct Marketing Association estimated that
 opt-in restrictions to use of demographic information by third parties would raise costs by US$1
 billion (Turner 2001).
          The conflict between privacy advocates and industry motivates our research objective:
 Exactly how much do individuals perceive to be the cost of releasing personal information
 online? The real policy issue is not whether consumers value online privacy. It is obvious that
 people value online privacy. What is not known is how much people value online privacy and
 the extent to which people differ in their valuations. Despite tremendous debate and policy
 interest, there has, to date, been no research into this question (Hahn 2001). Indeed, it has been
 conjectured that “measuring the value of consumer privacy may prove to be intractable” (Ward
 2001).
          Businesses need to know the value of privacy in deciding whether to invest in privacy
 seals and what incentives to offer consumers for their personal information. Governments need
 this information to decide on public policy towards information privacy. For instance, Laudon
 (1996) and Varian (1997) have proposed to regulate privacy through markets in personal
 information. But the economic viability of such markets depends on individuals’ perceived
 value of privacy.
          In this study, we applied conjoint analysis, which is the standard way of measuring
 consumer trade-offs (Green and Srinivasan 1990; Wittink and Cattin 1989), to U.S. and

 3
  Amazon has subsequently apologized for charging different prices and refunded an average of $3.10 to each of 6,896 customers
 who bought a DVD. These consumers paid between 25-66 percent more than the lowest available price. While it has been
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 Singapore subjects’ rankings of alternative combinations of benefits and privacy protection in an
 online setting. The benefits were monetary reward and future convenience, while the privacy
 protection applies to errors in storing or processing personal information, unauthorized
 secondary use of information, and improper access to information.4 This allows us to make the
 following contributions:
          First, the conjoint analysis showed that the benefits had a significant effect on our
 subjects’ preferences.         Second, by comparing the value of protection on the three privacy
 concerns with the value of monetary reward, we provide the first estimates of the monetary value
 of privacy protection in the United States. Last, by applying cluster analysis to the subjects’
 marginal rankings of the various benefits and concerns, we found that our subjects could be
 categorized into three distinct segments – privacy guardians, information sellers, and
 convenience seekers. The majority of subjects were relatively sensitive to online information
 privacy concerns (“privacy guardians”). By contrast, a smaller proportion was relatively willing
 to provide information in exchange for money (“information sellers”), and an even smaller
 proportion was relatively willing to provide information in exchange for convenience
 (“convenience seekers”).
          All of the preceding results were robust in the sense that they held in both the U.S. and
 Singapore samples. Our results contribute directly to the public policy debate over whether
 online privacy protection is worth its cost to industry. They also inform businesses whether to
 invest in privacy seals and what incentives to offer consumers for their personal information.
          The remainder of this paper is organized as follows. We provide an overview of the
 relevant literature and our research questions in Section 2. The experimental procedure is
 explained in Section 3. Section 4 describes the results of the conjoint analysis and estimates the
 dollar value of privacy protection. Section 5 reports the results of the cluster analysis. Section 6
 discusses implications for public policy and business strategy.                           Section 7 concludes with
 limitations and directions for future research.




 speculated that Amazon engaged in price discrimination, Amazon claimed that these were ‘random’ tests.
 (http://www.internetnews.com/ec-news/article.php/4_471541, September 28, 2000).
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 2. Theory and Hypotheses


             Information privacy has been defined as the individual’s ability to control the collection
 and use of personal information (Westin 1967; Stone and Stone 1990). Research in consumer
 psychology suggests that individuals seek privacy to maintain self-identity, establish personal
 boundaries, and avoid unwanted disclosure and intrusion (Goodwin 1991, 1992). In many
 experimental and organizational settings, people are found to perceive privacy invasions when
 they are not granted sufficient control on the solicitation, storage, use and disclosure of various
 types of personal information (see, e.g., Eddy et al. 1999; Tolchinsky et al. 1981; Woodman et
 al. 1982). Such perception may deter them from taking part in transactions that involve personal
 information solicitation (Culnan 1993; Stone et al. 1983).
             Consumer research suggests that individuals face a degree of risk when they enter into
 marketing transactions, and their perceived risk may significantly affect their extent of
 information search and purchase decisions (Cox and Rich 1964). Generally, perceived risk
 encompasses both the uncertainty and adverse consequences of taking part in a transaction
 (Dowling and Staelin 1994). Advances in network and telecommunications technologies have
 fostered the growth of electronic commerce, which has added a new information dimension to
 marketing transactions. Increasingly, consumer information is acquired, exchanged, and used by
 online merchants. This has expanded the risk of consumers – other than the basic products (or
 services), they now face an additional uncertainty regarding how their personal information is
 handled.         Information privacy has been found to be of utmost concern to consumers in
 contemporary marketing exchanges (Culnan and Armstrong 1999; Hoffman et al. 1999; Phelps
 et al. 2000).
             One perspective through which the information privacy context of an Internet
 relationship between a consumer and a firm can be discussed is Social Exchange Theory (SET).
 In its most general form, social exchange theory proposes that people review and weigh their
 relationships in terms of costs and rewards. These costs and rewards are specific to a person and
 are used to guide behavior (Thibaut and Kelley 1959; Homans 1961; Blau 1964). This notion
 has found widespread application in diverse areas; social exchange theory has been used to
 understand marketing transactions (Alderson and Martin 1965; Bagozzi 1975), to predict the

 4
     The objective of this research certainly fits within Wittink’s (2001) “Encapsulation Model” in which business school research
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 perception of service level obtained from a government agency (Gutek 1999) and to analyze the
 reciprocity of venture capitalists to invite other venture capitalists to join in a continued funding
 of a start-up (Jan Piskorski). Specifically, in the context of online marketing, Chellappa and Sin
 (2002) propose several hypotheses based on social exchange theory.
          Invoking social exchange theory to analyze the Internet relationship, we first have to
 establish the costs and rewards to submitting private information to a firm. Regarding the costs,
 we identified the four concern dimensions previously established by Smith et al. (1996) –
 collection, error, unauthorized secondary use, and improper access. Collection refers to the
 concern that “extensive amounts of personally identifiable data are being collected and stored in
 databases”; error refers to the concern that “protections against deliberate and accidental errors in
 personal data are inadequate”; unauthorized secondary use refers to the concern that
 “information is collected for one purpose but is used for another, secondary purpose”; improper
 access refers to the concern that “data about individuals are readily available to people not
 properly authorized to view or work with this data” (Smith et al. 1996, page 172, Table 2).
 These dimensions were further validated by Stewart and Segars (2002).
          In online transactions, firms seek to reduce these costs through notices and protections
 which are often provided in the form of a detailed privacy statement. Because of the extra risk
 associated with the use of personal information, consumers value informed notices of how their
 information is handled, and they prefer fair information procedures and privacy protection
 (Culnan and Armstrong 1999; Hoffman et al. 1999). Hence social exchange theory would
 suggest that consumers prefer websites that reduce these costs. In addition, the expectancy
 theory-based model of privacy suggests that individuals seek to minimize negatively valued
 outcomes, which include physical and psychological harms due to the misuse of personal
 information. Further, individuals’ cognition of the desirability of the expected outcome due to
 disclosure is a direct, positive function of procedural factors related to information handling
 (Stone and Stone 1990). Therefore, our first hypothesis is formulated as:


          Hypothesis H1: Individuals value information privacy protection in online transactions that
          involve personal information solicitation; a website that provides a higher level of protection will
          be preferred to one that provides less protection.




 must have real-world relevance.
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          Besides information privacy protection, individuals’ preference toward a particular
 website may also be affected by extrinsic, positive reinforcements. The resource exchange
 theory characterizes six categories of interpersonal resources: love, status, information, money,
 goods and services, and it is well demonstrated that people are willing to trade one resource for
 another (Foa 1971; Donnenwerth and Foa 1974). Prior research has shown that this resource
 framework is quite general, and it can be applied to analyze different types of marketing
 transactions that involve interpersonal relationships and resource exchanges (Brinberg and Wood
 1983; Hirschman 1987).
          On the Internet, many websites provide monetary reward or exclusive, convenient
 services that help reduce transaction time to consumers who disclose certain personal
 information.5 Both money and service are primary elements in Foa’s (1971) theory, and they
 may act as positive incentives and resources for online firms to exchange for consumer
 information. Further, because privacy protection represents another type of service provided by
 online firms, the resource exchange theory predicts that people may be willing to forgo privacy
 protection in return for other resources (i.e., money or convenient services). Indeed, anecdotal
 evidence has shown that people are willing to disclose personal information for gifts and catalogs
 (Oberndorf 1999; Russell 1989), and even a $100 drawing (Jupiter Media Metrix 2002). The
 human capital model in economics also treats time as a primary resource to produce household
 activities (Becker 1965; Leclerc et al. 1995; Ratchford 2001). This implies that people may
 value services provided by websites that increase convenience and help save time, which can
 then be used for other consumption activities.
          The proposition that individuals value positive reinforcements when deciding whether to
 provide information to websites is also consistent with social exchange theories. Specifically,
 the social exchange framework of human behavior posits that people tend to perform actions that
 generate outcomes which, based on their past experience and personal interest, are rewarding to
 them (Blau 1964; Emerson 1972a, 1972b; Homans 1961). The more rewarding is a particular
 outcome, the higher the probability that people will perform the associated action.
          Because money and convenient service are both useful resources that most people find
 rewarding (Foa 1971), the social exchange theory suggests that people have a higher tendency to

 5
  For instance, it is common for websites to offer shopping vouchers or discount coupons to first-time consumers who register as
 members; Amazon’s one-click shopping facilitates quicker and easier transactions for customers who have previously provided
 personal information, such as delivery address and credit card profile.
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 enter into an exchange relationship with websites which provide more monetary reward or time-
 saving convenient services. Synthesizing the above theoretical arguments, our next hypotheses
 are posited as:


        Hypothesis H2a: Individuals value positive reinforcements, exemplified by monetary reward, in
        online transactions that involve personal information solicitation; a website that provides higher
        levels of money will be preferred to one that provides less money.

        Hypothesis H2b: Individuals value positive reinforcements, exemplified by time-saving services,
        in online transactions that involve personal information solicitation; a website that provides higher
        levels of time-saving services will be preferred to one that provides less time-saving.


        Note that H1, H2a and H2b describe basic individual preferences, and they may apply to
 general behavioral decisions, such as participation into online activities, information disclosure,
 or selection of websites for transactions. In particular, when individuals are presented with
 multiple websites that differ in terms of privacy protection or the provision of positive
 reinforcements, they may tradeoff the value that they attach to each of these dimensions.
        Theoretical models of privacy have suggested that individuals perform a privacy calculus
 to assess the cost and benefit of providing personal information (Laufer and Wolfe 1977; Stone
 and Stone 1990). In the online context, privacy cost consists of consumers’ perceived risk of
 information provision (cf. H1), whereas benefit can be any monetary rewards or services that
 consumers receive from websites (cf. H2a, H2b).                  Such a cost-benefit tradeoff calculus is
 coherent with Foa’s (1971) resource exchange hypothesis, as consumers may forgo privacy
 protection (a service resource) to acquire more money or services. Empirically, research has
 found that people often make tradeoff decisions involving money and time (Leclerc et al. 1995).
 In the context of direct mail participation, Milne and Gordon (1993) exposed subjects to a trade-
 off between compensation, targeting, volume, and permission, thereby making perceptions about
 negative consequences of revealing private information implicit.                     In their study, monetary
 compensation received the highest weight. As we illustrate later, a conjoint experiment allows
 us to test H1, H2a and H2b, to explore the extent of such cost-benefit privacy tradeoff explicitly,
 and to quantify the monetary value of different privacy protections.
        Finally, the social exchange theory posits that individuals’ choice of actions (and hence
 their preferences toward alternative stimuli) are influenced by their personal experience; the
 more frequently a person was rewarded by a particular stimulus in the past, the more likely she
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 would be to perform an action that leads to the stimulus (Emerson 1972a; Homans 1961). Also,
 the extent of privacy calculus posited by Laufer and Wolfe (1977) depends on personal and
 environmental characteristics, and Stone and Stone’s (1990) expectancy theory-driven privacy
 model includes individual and social factors such as personality and previous learning. In
 accordance with these models, individuals’ preferences toward privacy protection and positive
 reinforcement may be shaped by their personal characteristics. In the context of information
 privacy, these theories posit that individuals may vary in their judgments towards online privacy.
 In as much as expectations about rewards and costs across individuals are similar, groups may be
 identified. For example, past opinion surveys have divided the U.S. population into a majority of
 “privacy pragmatists” and minorities of “privacy fundamentalists” and “privacy unconcerned”
 (Westin 2001). In this research, other than testing the hypotheses and assessing privacy tradeoff,
 we use a variety of personal characteristics as predictors to verify whether such a categorization
 is appropriate, and whether individuals’ attitudes toward privacy can be systematically predicted.


 3. Experimental Procedure


        To address our primary set of research questions, we employed the technique of conjoint
 analysis. This technique presents test subjects with a set of alternatives (stimuli). Each stimulus
 consists of particular levels of various dimensions. The subject is asked to rank the stimuli
 according to her own preferences. Conjoint analysis assumes that the individual’s ranking of
 each stimulus can be decomposed into the sum of contributions from the multiple dimensions.
 For each dimension, the contribution is the part-worth multiplied by the level of that dimension.
 Essentially, the part-worth is the marginal utility of the dimension in the individual’s ranking of
 the conjoint stimuli.
        To keep the conjoint tasks to a manageable size, Green and Srinivasan (1990)
 recommend that the number of attributes be limited to six or fewer. Following Green and
 Krieger (1991), we conducted focus groups prior to the conjoint study.           Specifically, we
 conducted three focus group discussions with upper-division undergraduate and graduate
 students in the United States and Singapore to identify the key benefits that they expected from
 registration with websites and suitable attribute levels.      The focus groups suggested that
 individuals clearly value direct monetary savings. In addition, they also identified convenience
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 as another important benefit of providing personal information to a website. The focus groups
 identified two sources of convenience benefits – the explicit time saving per session and the
 expected visit frequency to the website.                      Accordingly, we operationalized convenience by
 “expected visit frequency/total time savings” in our conjoint experiment.6
           As mentioned before, we considered the four concern dimensions identified by Smith et
 al. (1996) – collection, error, unauthorized secondary use, and improper access – as the costs of
 privacy. For our purpose, collection is a necessary antecedent to the three other dimensions.
 Error, unauthorized secondary use and improper access of information can not happen without ex
 ante collection of personal information.                     Further, individuals’ concerns on the other three
 dimensions are a direct function of the amount of information collected – the more information a
 website collects, the higher should be the concerns with error, unauthorized secondary use, and
 improper access of information.                  Therefore, it would not be appropriate to manipulate the
 collection of information and let subjects assess the tradeoffs between collection and other
 concern/benefit dimensions.                Accordingly, in our conjoint analysis, we controlled for the
 collection of information and manipulated the other three concern dimensions.
           Taken together, our conjoint study assessed trade-offs among five dimensions – two
 benefits and three privacy concerns. We created three treatment levels each of monetary reward
 ($5, $10 and $20) and visit frequency/time savings (monthly, weekly and daily).7 The benefit
 levels were motivated by the focus groups. The three concerns (error, unauthorized secondary
 use and improper access of information) were manipulated by the presence (or absence) of
 proper information handling and access procedures.
           Based on these five dimensions and their treatment levels, there were a maximum of 3 x
 3 x 2 x 2 x 2 = 72 conjoint stimuli. To avoid asking subjects to rank too many alternatives, we
 selected 18 stimuli based on an optimal orthogonal design (Addelman 1962). For example, one
 particular stimulus was a website that provided a $5 monetary reward in return for personal
 information and which the subject visited once a month with a total time savings of 24 minutes
 per year.       Further, the website had no error correction procedure, no policies to prevent

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   The subjects were told during the experiments that if they expected to visit the website daily, their average time saving over the
 year would be 8 hours and 20 minutes (assuming an average saving of 2 minutes per transaction, 2 minutes x 5 days a week x 50
 weeks = 8 hours and 20 minutes); if they expected to visit the website weekly, the yearly saving would be 1 hour and 40 minutes;
 and if they expected to visit the website monthly, the yearly saving would be 24 minutes.
 7
   The monetary rewards were framed in the respective local currencies. As of April 2002, one Singapore dollar = 54 US cents.
 Due to the currency differences, the effective ranges of monetary rewards differed between the U.S. and Singapore experiments –
 in US dollars, the Singapore rewards were equivalent to US$2.70, US$5.40, and US$10.80, respectively.
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 unauthorized secondary use, and no policies to prevent improper access to information. Our
 conjoint analysis asked subjects to rank 18 websites (stimuli), which represented different
 combinations of benefits and privacy protection. In order to control for industry effects, we
 posed the conjoint stimuli in three settings – financial, healthcare, and travel. Within each of the
 three industries, we controlled for the degree of information collection by telling the subjects that
 all 18 stimuli (that is, hypothetical websites) requested the same set of personal information from
 the subjects. The personal information consisted of name, home address, phone number, e-mail
 address, credit card information, and some industry-specific information. In addition, travel
 websites requested the consumer’s occupation, travel purpose, destination and frequency of
 travel, as well as frequent flyer numbers, healthcare websites asked for medical history, drug
 allergies, and prescription record, and financial websites asked for household income, stock
 portfolio, and previous stock trading experience.
        Each subject was randomly assigned to one of the three industry settings and asked to
 rank the 18 stimuli (websites) according to her own preferences.              In other words, the
 benefit/concern dimensions were within-subject factors whereas industry was a between-subject
 factor. To capture the background of the experimental subjects, we also included demographic
 questions regarding subjects’ gender, age, Internet usage and previous experience with invasion
 of privacy.
        To strengthen the external validity of our study, we conducted the conjoint experiment in
 both the USA and Singapore. The U.S. subjects were upper-division undergraduate students
 from a major Eastern university.          The Singapore sample consisted of upper-division
 undergraduate students enrolled in an e-commerce technologies course at a major university.
 Table 1 presents some descriptive statistics about our subjects.
        The experiment proceeded as follows. First, all subjects completed the demographic
 questions. Then, the experimental task and the meanings of the five dimensions were explained.
 Finally, the subjects ranked the 18 stimuli based on their personal preferences. In the U.S.
 sample, 84 participants completed the experiment, and, among them, 35 students received course
 credit, while the remainder were compensated with US$7.8              In Singapore, 184 subjects
 completed the experiment and received course credit. We collected 268 responses in total.
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 4. Conjoint Analysis


             The key outcome of conjoint analysis is the part-worths (marginal utilities) of the various
 dimensions that comprise the conjoint stimuli. To estimate the part-worths, we used least-
 squares regression with the subjects’ rankings (from 1 to 18) as the dependent variable and
 indicators of the various levels of the two benefit and three privacy concern dimensions as the
 independent variables. Then, the coefficient of each independent variable would be the part-
 worth corresponding to that level of the dimension.                              Further, we calculated the relative
 importance of each dimension as the part-worth corresponding to the maximum level of that
 dimension divided by the sum of the part-worths corresponding to the maximum levels of all five
 dimensions. We expressed relative importance as a percentage.
             Table 2 reports the means of the part-worths and relative importance for the U.S. and
 Singapore subjects. Note that the part-worths and relative importance for the U.S. and Singapore
 samples are not directly comparable as the monetary rewards were framed in the respective local
 currencies. At the April 2002 exchange rate, the rewards specified to the Singapore subjects
 were equivalent to US$2.70, US$5.40, and US$10.80 respectively.
             We first examined whether the responses from the subjects differed across the three
 industries (financial, healthcare and travel).                     Since our U.S. and Singapore samples were
 relatively large, the central-limit theorem implies that the estimated part-worths for each
 independent variable should approximately follow a normal distribution. Based on this premise,
 we conducted one-way analysis of variance (ANOVA) and pairwise t-tests to compare the part-
 worths across the industries. The results suggested that the part-worths (or, equivalently, the
 subjects’ preferences) were not statistically different across financial, healthcare and travel
 websites. Accordingly, in all subsequent analyses, we pooled the data across industries.
             The part-worths on the privacy coefficients (error, improper access, unauthorized
 secondary use) show strong support for Hypothesis 1. A positive part-worth for a specific
 privacy dimension, which differs significantly from zero, indicates that subjects on average
 prefer a website with this privacy feature. For example, regarding the US sample, a privacy
 policy which restricts improper access will rise its ranking by 3.007 (out of 18). Referring to
 Table 2, the part-worths for protection against all three privacy concerns were statistically

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     We found no statistically significant difference in part-worths between those who received course credit and those compensated
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 significant at the 1% level in both samples. Among U.S. subjects, the part-worth for review
 (which enabled an individual to correct errors in his/her personal information) was 2.968, while
 that for disallowing unauthorized secondary use was 2.118. Among Singapore subjects, the part-
 worths for error review and editing, restricting improper access, and disallowing unauthorized
 secondary use were 1.787, 3.374 and 4.604 respectively.
          Comparing the part-worths between countries, we found that, consistent with previous
 research (Esrock and Ferre 1999; Milberg et al. 1995), Singapore subjects were relatively more
 concerned about improper access and unauthorized secondary use than errors in storing
 information. However, the U.S. subjects exhibited less concern for unauthorized secondary use
 than errors in storing information. Despite the discrepancy in relative preferences toward the
 different privacy protections across the two samples, our conjoint experiment confirmed previous
 findings that individuals are highly concerned about information privacy, and they value
 protective measures (Culnan and Armstrong 1999).
          Our results indicate support for Hypothesis 2a; i.e., that positive reinforcements such as
 monetary rewards are valued. For the U.S. sample, the part-worth for a US$20 reward was 3.141
 and was statistically significant. This means that a website offering a US$20 reward for personal
 information would raise its ranking by 3.141 (out of 18) as compared to an otherwise identical
 website offering the base level US$5 reward. Also, the part-worth for a US$10 reward was
 1.327 and significant. For the Singapore sample, the part-worth for a S$20 reward was 1.388
 and was statistically significant.            At the prevailing exchange rate, S$20 was equivalent to
 US$10.80, hence it was not surprising that the part-worth was much less than the US$20 part-
 worth in the U.S. sample (3.141). Interestingly, the S$20 part-worth among Singapore subjects
 (1.388) was very close to the US$10 part-worth among U.S. subjects (1.327). This result arose
 even though the base-level rewards were different in the two samples (S$5 and US$5
 respectively). The part-worth for a S$10 reward in the Singapore sample was 0.232 but not
 statistically significant. Apparently, the subjects were willing to trade away privacy protection
 or convenience only when the monetary reward exceeded a threshold, which lay between S$10-
 20 (US$5.40 – 10.80).
          Taken together, the results from the U.S. and Singapore samples suggest that a
 sufficiently large monetary reward did significantly increase the relative attractiveness of a

 with US$7. Hence, we pooled both groups into a single sample.
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 website independent of its privacy policy. Further, when the monetary reward was relatively low
 (as in the Singapore sample), the marginal utility of the reward was increasing, and when the
 monetary reward was relatively high (as in the U.S. sample), the marginal utility tended to
 decrease. These results indicate that the attractiveness of a monetary reward relative to privacy
 protection or convenience might follow the “S”-shape as shown in Figure 1. The results are
 consistent with economic analysis that utility functions tend to be non-concave (Friedman and
 Savage 1948; Hartley and Farrell 2002).
        We also find a support for Hypothesis 2b; i.e., that positive reinforcements such as time
 saving services, operationalized by visit frequency/time savings, are valued. Referring to Table
 2, in the U.S. sample, the part-worth for weekly visit was significant at the 5% level, but the part-
 worth for daily visit was significant only at the 10% level. Further, the part-worths for weekly
 and daily visits were not significantly different. In the Singapore sample, the part-worths for
 visit frequency/time savings were generally more significant.          However, as with the U.S.
 subjects, the effect due to weekly visit was not significantly different from that due to daily visit.
        From the results of both samples, we conclude that there is some evidence that subjects
 are sensitive to convenience. The evidence is stronger among Singapore subjects than U.S.
 subjects. Further, once the subjects expected to visit a certain website sufficiently frequently (at
 least once a week), more frequent visits did not seem to affect the subjects’ preferences.
        The part-worths and relative importance associated with visit frequency/time savings
 among U.S. and Singapore subjects were very close. In both samples, these were much lower
 than the part-worths and relative importance for the other dimensions. Apparently, among our
 subjects, convenience was only a minor factor when evaluating websites. By contrast, monetary
 reward and privacy protection were perceived to be much more important.
        We can use these results to calculate the marginal utility of a one-dollar reward.
 Referring to Table 2, in the U.S. sample, between the US$5 and US$10 rewards, the US$5
 increase raised the ranking by 1.327, or 0.265 per dollar of reward. Alternatively, between the
 US$10 and US$20 rewards, the US$10 increase raised the ranking by 3.141 – 1.327 = 1.814, or
 0.181 per dollar of reward. These two estimates provide a range of 0.181 – 0.265 per U.S. dollar
 of reward.9 In the Singapore sample, the S$10 part-worth was not significantly different from
 zero. Accordingly, we focus on the S$20 part-worth. Between the S$5 and S$20 rewards, the
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 S$15 increase raised the ranking by 1.388, which amounted to 0.0925 per (Singapore) dollar of
 reward or 0.171 per U.S. dollar of reward. This was quite remarkably close to the range (0.181 –
 0.265 per U.S. dollar of reward) that we found among U.S. subjects.
          Finally, using the marginal utilities of a dollar reward and the part-worths for privacy
 protection, we estimate the value of protection, on a per-subject basis, for each of the three
 privacy concerns. Recall that we estimated the marginal utility of a US$1 reward to be 0.181 –
 0.265 among the U.S. subjects. By Table 2, the part-worth for review and editing of information
 was 2.968. Using the lower bound for the marginal utility (0.181 per dollar), the value of review
 and editing of information is 2.968/0.181 = US$16.40. Using the upper bound for the marginal
 utility (0.265 per dollar), the value is 2.968/0.265 = $11.20. We can use the same method to
 derive the values of protecting against improper access and unauthorized secondary use. The
 results are reported in Table 3. We also computed the values for the Singapore subjects using the
 marginal utility of 0.171 per U.S. dollar.
          Generally, our results in Table 3 suggest that websites might need to offer substantial
 monetary incentives to overcome individuals’ concerns about error, improper access, and
 unauthorized secondary use of information. Among U.S. subjects, protection against errors,
 improper access, and secondary use of personal information is worth US$30.49 – 44.62.


 5. Cluster Analysis


          To address our secondary set of research questions – whether individuals systematically
 differ in their trade-off between benefits of disclosing personal information and privacy
 concerns, we applied cluster analysis (Green and Krieger 1991; Vriens et al. 1996). This
 technique groups subjects into distinct segments according to the similarity of their estimated
 part-worths for the various dimensions. In the present case, we apply cluster analysis to segment
 the subjects according to their estimated part-worths over the various benefits and dimensions of
 privacy protection.10
          Specifically, we applied hierarchical cluster analysis using average between-group
 linkage with (dis)similarity measured by the squared Euclidean distance to both the U.S. and

 9
  Between the US$20 and US$5 rewards, the US$15 increase raised the ranking by 3.141, or 0.210 per dollar of reward, which is
 within the range of 0.181 – 0.265 calculated using the other reward differences.
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 Singapore samples.           The hierarchical method was preferred because we had no a priori
 information on the number of clusters and initial cluster seeds/centers (Hair et al. 1998, pp. 493 -
 498). We used a distance measure for (dis)similarity as all the part-worths (the inputs to the
 cluster analyses) were derived from a common scale, the website rankings.
          For each sample, we began the analysis with every subject constituting a separate cluster.
 We then examined the percentage drops in the similarity coefficient as clusters were
 progressively merged. In both the U.S. and Singapore samples, we stopped at three clusters as
 further combination of any two clusters resulted in a sharp drop in similarity, a stopping rule
 recommended by Hair et al. (1998, pp. 499). Table 4 reports the three clusters and the respective
 mean part-worths. A small number of subjects could not be classified into any of the three
 clusters. We excluded these observations from subsequent analysis and discussion.11
          Consistent across the two samples, the majority of the subjects formed a cluster that
 could be characterized by a high value on information privacy. Specifically, 72% of the U.S.
 subjects and 84% of the Singapore subjects exhibited relatively high part-worths for protection
 against error, improper access, and unauthorized secondary use of their personal information. By
 contrast, their part-worths on monetary reward and visit frequency/time savings were relatively
 low. We label this group of subjects as “privacy guardians” – people who attach a relatively
 high value to information privacy.
          The next largest cluster consisted of subjects who attached a relatively high value to
 monetary reward. We call them “information sellers”, as they tend to “sell” personal information
 with little regard for convenience (visit frequency/time savings) or website privacy policies.
          The smallest cluster comprised subjects who focused exclusively on convenience
 (operationalized by visit frequency/time savings).                         In fact, their part-worths for visit
 frequency/time savings were so high that their preferences over alternative websites could almost
 be predicted by visit frequency/time savings alone.                        We call these subjects “convenience
 seekers” – people who prefer convenience with little regard for money or website privacy
 policies.



 10
    In the case of monetary reward and visit frequency/time savings, we used the maximum part-worths – $20 monetary reward
 and daily frequency respectively.
 11
    Some of these outliers formed small (one- or two-member) clusters that we could not interpret. Several subjects exhibited
 unusual preferences such as preferring improper access to personal information. They possibly misunderstood the experimental
 tasks. The outliers constituted 7% and 10% of the U.S. and Singapore samples respectively.
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             Across the three clusters, we observe very different attitudes toward benefits and privacy.
 The privacy guardians prefer protection, but they still value monetary reward (the mean part-
 worth for monetary reward was significantly different from zero). Only the convenience seekers
 value convenience; for all other clusters, the part-worths for visit frequency/time savings were
 insignificant.12          Among the three privacy concerns, only unauthorized secondary use was
 significant in all three clusters.
             Based on opinion surveys, Westin (2001, pp. 16) characterized 12% of the U.S.
 population as being “privacy unconcerned”: “for 5 cents off, they will give you any information
 you want about their family, their lifestyle, their travel plans, and so forth”. Interestingly, we
 found that 12.5% of the U.S. sample were “information sellers”. However, our evidence is that
 information sellers demand a great deal more than “5 cents off.” Indeed, this point distinguishes
 our analysis from opinion surveys: we can estimate the dollar amount that information sellers
 must be paid for their information.
             Further, our analysis revealed a cluster that Westin (2001) did not identify. This cluster
 consisted of convenience seekers, people who would “sell” their personal information for
 convenience rather than money. Finally, among the remainder of the U.S. population, Westin
 (2001) differentiated between “privacy pragmatists” (63%) and “privacy fundamentalists” (25%)
 according to their sensitivities to privacy, while our cluster analysis did not find such a
 distinction. We did detect some evidence among the U.S. subjects that the privacy guardians
 could be further segmented, with each sub-segment placing relatively greater weight on one of
 the three privacy concerns.
             Having identified three clusters, we investigated whether cluster membership depended
 systematically on particular demographic variables.                            We first sought systematic differences
 between information sellers and privacy guardians. Among the U.S. subjects, we found that
 information sellers had significantly more prior experience of providing personal information to
 websites than privacy guardians (t = 3.115, p < 0.01). The information sellers’ greater prior
 experience was consistent with their relatively high part-worths for money. However, among the
 Singapore subjects, there was no significant difference between information sellers and privacy
 guardians in terms of prior experience of providing personal information to websites.



 12
      Interestingly, our finding that the subjects were sensitive to convenience seems to be due solely to the convenience seekers.
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          We next investigated systematic differences between convenience seekers and privacy
 guardians. Among the U.S. subjects, convenience seekers were much more accepting of cookies
 than privacy guardians (t = 4.282, p < 0.001). Specifically, the convenience seekers were less
 concerned about cookies, and they typically accepted all cookie manipulations from websites
 without warning. By contrast, the majority of the privacy guardians requested to be warned
 about cookies.         Many of them even configured their browsers to reject all cookies.                                   The
 convenience seekers’ greater acceptance of cookies was consistent with their relatively high part-
 worths for visit frequency/time savings.
          Among the Singapore subjects, the convenience seekers were also less concerned about
 the use of cookies than the privacy guardians (t = 6.954, p < 0.001). This result was consistent
 with the preferences of the U.S. sample.
          Overall, we found some evidence that information sellers had more prior experience of
 information provision than privacy guardians, and strong evidence that convenience seekers were
 more accepting of cookies than privacy guardians.


 6. Policy and Business Implications


          We now address the key public policy issue – whether the benefit of increased privacy
 regulation justifies the cost. In the United States, the national cost of complying with various
 legislative proposals to increase regulation of online privacy has been estimated to be US$9-36
 billion (Hahn 2001).
          Referring to Table 3, we estimate that, on average, each individual values protection
 against errors, improper access, and secondary use of personal information at between US$30.49
 – 44.62. In March 2001, an estimated 58 million Americans made a purchase over the Internet
 (Horrigan and Rainie 2002). Based on the number of purchasers, we estimate the benefit of
 privacy protection to be US$1.77 – 2.59 billion, which falls quite far short of Hahn’s (2001) cost
 estimates.13 This estimate is conservative, hence understates the value of privacy protection for
 several reasons. Stronger privacy legislation might raise consumer participation in Internet
 commerce, hence generating additional benefit. Further, our calculation assumes that each

 13
   If each person values privacy at US$30.49, then 58 million persons would value privacy at a total of 58 x 30.49 = US$1,768
 million or approximately US$ 1.77 billion. Similarly, if we use the higher estimate of the value of privacy (US$44.62), the value
 of privacy to the entire population is US$2.59 billion.
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 consumer provides information to just one website. To the extent that they provide information
 to multiple websites, the value of privacy protection would be greater.
        Our results also address another public-policy issue – the viability of proposals to
 regulate privacy through markets (Laudon 1996; Varian 1997). Given that individuals’ concern
 for privacy is not absolute, but rather can be traded off against benefits such as money and
 convenience, we conclude that market solutions may well be viable.
        As for business implications, we identified three distinct segments – privacy guardians,
 information sellers, and convenience seekers – in terms of individual trade-offs between the
 benefits of disclosing personal information and privacy concerns. The immediate implication is
 that e-commerce providers must differentiate their services to serve these distinct segments. Just
 as an auto manufacturer makes differentiated models for various segments, an e-commerce
 provider must differentiate its services to best meet the needs of segments with differing trade-
 offs among money, convenience, and privacy concerns.
        Convenience seekers will be the first to register with a website if it simplifies web site
 navigation or enables personalized content. Businesses can exploit this by offering them the
 opportunity to provide personal information to customize the web site and simplify the shopping
 experience.
        Information sellers are distinguished from privacy guardians by prior experience of
 information provision. This customer type cannot be lured to provide personal information by
 offering them convenience. To the extent that businesses cannot observe a consumer’s prior
 experience, they must use indirect methods to induce segmentation by self-selection (Bhargava
 and Choudhary 2002; Moorthy 1984; Png 2002, Chapter 9). Businesses could use monetary
 rewards to attract information sellers to provide personal information. Preferably, businesses
 would seek convenience seekers first before enticing information sellers.
        By elimination, the consumers who do not respond to either monetary reward or
 convenience would be privacy guardians. Businesses would need to use other strategies, such as
 privacy seals (Benassi 1999) or procedural fairness (Culnan and Armstrong 1999), to persuade
 these consumers to provide their personal information.
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 7. Concluding Remarks


        By applying conjoint analysis, we have shown that individuals’ preferences over
 disclosing personal information to websites do systematically vary with monetary reward and
 convenience. Further, we provided the first analysis of the benefit vis-à-vis cost of increased
 privacy regulation in the United States. In addition, we identified three distinct segments in
 terms of individual trade-off between the benefits of disclosing personal information and privacy
 concerns – privacy guardians, information sellers, and convenience seekers. Finally, we made
 some headway in characterizing these segments.
        Our findings are subject to a number of limitations which are common to many
 experimental settings. All of our subjects were undergraduate students. They would be younger
 and probably be more familiar with the Internet and e-commerce than the general consumer
 population.   Further, they may have had relatively little experience of medical problems,
 relatively little travel experience, and had too little wealth to be familiar with investment
 opportunities and risks. This might explain why we found no systematic industry differences in
 subjects’ preferences.14 For all these reasons, it would be important to verify our findings with a
 more representative sample of subjects.
        We tested our hypotheses using experimental data collected from Singapore and U.S.
 subjects, which include students from diverse countries and cultures. Although our results are
 remarkably consistent across the two samples, future work could explore the possible influences
 of cultural values on individuals' preferences for privacy and positive reinforcements.
 Previously, using Hofstede's (1991) cross-cultural value indices, Milberg et al. (2000) find that
 privacy concern is positively related to power distance, individualism and masculinity, and
 negatively related to uncertainly avoidance. We do not have a priori information or checking on
 the cultural values of our subjects. Therefore, it is infeasible for us to interpret our results in
 light of cultural differences. It would be interesting for future research to extend our findings
 and introduce cultural factors when studying decisions involving privacy trade-offs.
        Further, the reported part-worths are sensitive to the specified attribute levels. For
 example, our conjoint stimuli specified only two levels of each privacy concern – no protection
 and protection. In reality, however, businesses have more flexibility. For example, they may
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 state that personal information is currently not used for secondary purposes, but that such a
 practice cannot be ruled out in the future. Similarly, rewards may range from cash or vouchers
 to lottery drawings. Different reward structures may imply different estimates for the marginal
 utility of a one-dollar reward. Future research may attempt to measure the impact of privacy
 policies and reward structures more directly.15




 14
    By contrast, Westin (2001) reported that Americans were particularly sensitive to privacy over financial and health
 information.
 15
    However, this may require a willingness of the businesses to share the kind of data that they have promised not to share for
 secondary use.
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                              Table 1: Descriptive Statistics
                                                     U.S.               Singapore
  Number of subjects                                 84                 184
  Percentage of females                              42%                44%
  Average age                                        24                 23.1
  Average Internet experience (years)                6.8                5.9
  Percentage of subjects having online purchase
                                                     95%                61%
  experience
                                                     U.S. (48), India
                                                                        Singapore (145),
                                                     (13),
                                                                        Malaysia (12), 9 other
  Subjects’ country of origin (number of subjects)   10 other
                                                                        countries (each less
                                                     countries (each
                                                                        than 5)
                                                     less than 5)
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                        Table 2. Part-Worths and Relative Importance
                                              U.S.                             Singapore
                                                               Relative               Relative
     Instruments            Level             Part-Worth+                 Part-Worth+
                                                               Importance             Importance
                            $5#    0                                      0
                                   1.327***                               0.232
     Monetary       $10#
                                   (0.341)                     26.24%     (0.165)     11.69%
     Reward
                                   3.141***                               1.388 ***
                    $20#
                                   (0.534)                                (0.281)
                    Monthly        0                                      0
     Visit                         0.568**                                0.432***
                    Weekly
     Frequency/Time                (0.260)                     6.13%      (0.153)     6.02%
     Savings                       0.734*                                 0.715 ***
                    Daily
                                   (0.411)                                (0.254)
                    No Review 0                                           0
     Error                         2.968***                    24.80%     1.787***    15.06%
                    Review
                                   (0.355)                                (0.194)
                    No restriction 0                                      0
     Improper
                                   3.007***                    25.12%     3.374***    28.43%
     Access         Restriction
                                   (0.529)                                (0.349)
                    Allowed        0                                      0
     Unauthorized
                                   2.118***                    17.70%     4.605***    38.80%
     Secondary Use Not allowed
                                   (0.324)                                (0.297)
 +
   Standard errors in parentheses. The control stimulus consisted of the lowest levels of each of the included
 dimensions. Because the control was represented by a least squares intercept, we label all lowest level part-worths
 as zero. The mean intercept is not reported for brevity.
 #
   US dollars for U.S. subjects and Singapore dollars for Singapore subjects.
 ***
     significant at 1% level;** significant at 5% level;* significant at 10% level.



                            Table 3: Value of Privacy (in U.S. dollars)

                     Website privacy policy                     Value
                                                                U.S.           Singapore
                     Review for error                           $11.18 - 16.36 $10.45
                     Restriction against improper               $11.33 - 16.58 $19.73
                     access
                     Secondary use not allowed                  $ 7.98 - 11.68      $26.93
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                                                Table 4: Clusters
                                  Average part-worth
                                              Visit
Segment                                                                              Unauthorized
                                  Monetary Frequency/                                             Improper
(no. of observations)                                 Error                          Secondary
                                  reward      Time                                                Access
                                                                                     Use
                                              Savings
          Privacy
                           1.637***      0.027                       4.040***        2.576***       5.116***
          guardians
                           (0.385)       (0.316)                     (0.434)         (0.448)        (0.519)
          (56)
          Information
U.S.                       10.865*** -0.781                          0.245           1.255**        -0.099
          sellers
(78) +                     (0.330)       (0.753)                     (0.458)         (0.483)        (0.462)
          (16)
          Convenience
                           1.445         11.028***                   1.500**         0.750*         0.542
          seekers
                           (0.781)       (0.613)                     (0.348)         (0.371)        (0.945)
          (6)
Number of outliers/unclassifiable observations: 6
          Privacy
                           0.464**       0.089                       2.234***        5.734***       4.973***
          guardians
                           (0.195)       (0.166)                     (0.183)         (0.318)        (0.314)
          (138)
          Information
Singapore                  11.286*** -0.714                          0.107           1.768***       0.446
          sellers
(165) +                    (0.360)       (0.855)                     (0.263)         (0.434)        (0.470)
          (14)
          Convenience
                           1.127         10.512***                   0.404           1.077**        0.173
          seekers
                           (0.862)       (0.682)                     (0.372)         (0.484)        (0.382)
          (13)
Number of outliers/unclassifiable observations: 19
 +
  Number excluding outliers.
 ***
    significant at 1% level;** significant at 5% level;* significant at 10% level.
 Standard errors in parentheses.



 Figure 1: Part-Worths for Monetary Reward
       Part-worth                                U.S. sample
                                                 Singapore sample




                                                                 U.S.$
                                                                 Reward
                    5           10                       20
